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                                        THE UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF NEW JERSEY
                                                CAMDEN VICINAGE
   _______________________________________________:
                                                  :
   In re: VALSARTAN, LOSARTAN, and IRBESARTAN :
   PRODUCTS LIABILITY LITIGATION                  :                   Master Docket No. 19-2875 (RBK/SAK)
                                                  :
                                                  :
                                                  :                   Opinion on Liability Expert Reports
                                                  :                   under FRE 702
                                                  :
   This Document Applies to All Actions           :
   _______________________________________________:
   KUGLER, United States District Judge:


           BEFORE THE COURT in this multidistrict litigation (“MDL”) are several motions from both
   parties seeking to preclude reports of the other party’s liability experts. Tables 1 and 2 list the parties’
   motions to preclude, which this Opinion and an accompanying Order of this date resolve;
           The COURT HAVING REVIEWED the parties’ submissions without a hearing in accordance
   with Loc.R. 78.1 (b), for the reasons stated below, and for good cause shown,


           IT IS HEREBY ORDERED:
           Plaintiffs’ motion Doc. No. 2286 is GRANTED IN PART AND DENIED IN PART as specifically
   stated below for Ali Afnan’s liability opinions;
           Plaintiffs’ motion Doc. No. 2297 is GRANTED IN PART AND DENIED IN PART as specifically
   stated below for Timothy Anderson’s liability opinions;
           Plaintiff’s motion Doc. No. 2289 is GRANTED IN PART AND DENIED IN PART as specifically
   stated below for Steven Baertschi’s liability opinions;
           Plaintiffs’ motion Doc. No. 2293 is GRANTED IN PART AND DENIED IN PART as specifically
   stated below for Michael Bottorff’s liability opinions;
           Plaintiffs’ motion Doc. No. 2298 is GRANTED IN PART AND DENIED IN PART as specifically
   stated below for John Flack’s liability opinions;
           Plaintiffs’ motion Doc. No. 2299 is GRANTED IN PART AND DENIED IN PART as specifically
     stated below for Timothy Kosty’s liability opinions;
           Plaintiffs’ motion Doc. No. 2301 is GRANTED IN PART AND DENIED IN PART as specifically
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   stated below for Akhilesh Nagaich’s liability opinions;
           Plaintiffs’ motion Doc. No. 2295 is GRANTED IN PART AND DENIED IN PART as specifically
   stated below for Roger Williams’ liability opinions;
           Plaintiffs’ motion Doc. No. 2288 is GRANTED IN PART AND DENIED IN PART as specifically
   stated below for Fengtian Xue’s liability opinions;
           Defendants’ motion Doc. No. 2284 is GRANTED IN PART AND DENIED IN PART as
   specifically stated below for Susan Bain’s liability opinions;
           Defendants’ motion Doc. No. 2287 is GRANTED IN PART AND DENIED IN PART as
   specifically stated below for Laura Craft’s liability opinions;
           Defendants’ motion Doc. No. 2292 is DENIED as to the liability opinions of Steven Hecht;
           Defendants’ motion Doc. No. 2292 is GRANTED IN PART and DENIED IN PART as specifically
   stated below for Ramin Najafi’s liability opinions;
           Defendants’ motion Doc. No. 2291 is GRANTED IN PART AND DENIED IN PART as
   specifically stated below for Kaliope Panagos’ liability opinions.
           Defendants’ motion Doc. No. 2285 is GRANTED IN PART AND DENIED IN PART as
   specifically stated below for Laura Plunkett’s liability opinions.
           Defendants’ motion Doc. No. 2296 is DENIED as to the liability opinions of Philip Russ.


   1.0     BACKGROUND
           The Valsartan MDL arose from an extensive Food and Drug Administration [“FDA”] recall in the
   U.S. of generic hypertensive, prescription drugs [“Valsartan” or “Valsartan-containing drugs” or
   “VCDs”]. To be clear, as used herein, the term “VCD” refers to valsartan-containing drugs that were
   contaminated with probable genotoxic human carcinogens in the form of nitrosamines, N-
   nitrosodimethylamine (“NDMA”) and N- N-nitrosodiethylamine (“NDEA”).
           Beginning in July 2018 and upon the FDA’s discovery that VCDs sold in the U.S. were
   contaminated with these nitrosamines, the FDA continued to recall VCDs into 2021. The recalls
   concerned VCDs manufactured and/or finished into pills by several defendants not headquartered in
   the U.S., including: in China: Zhejiang Huahai Pharmaceuticals Ltd.[“ZHP”]; in India: Mylan
   Pharmaceuticals Ltd. [“Mylan”]; Aurobindo Pharmaceuticals Ltd.[“Aurobindo”]; Hetero
   Pharmaceuticals Ltd. [“Hetero”]; and Torrent Pharmaceuticals Ltd. [“Torrent”]; and in Israel: Teva
   Pharmaceuticals [“Teva”]. Most of the foreign drug manufacturers also have U.S. subsidiaries that
   either put the drugs into finished form and/or distributed them in the U.S.
           The Court has certified three classes of plaintiffs: a Personal Injury class, an Economic Loss
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   class, and a Medical Monitoring Class. These motions to preclude relate to the possible liability of
   defendants for the formation of nitrosamines in their Active Pharmaceutical Ingredient [“API’] during
   its manufacture and for including the nitrosamine-contaminated API into finished drug products. The
   liability reports are especially appropriate because a bellwether trial of the Third Party Payor segment
   of the Economic Loss class has been scheduled for 2024.
           As the parties know well the background and procedural history of the MDL, the Court foregoes
   an exposition and recommends a review of Doc Nos. 675, 728, 775, 818, 839, 1019, 1753, 1811, 1825,
   1838, 1958, 1974,1994, 2261, 2368, 2343, 2518, 2529, 2535, 2546, and 2555, as needed.


   2.0     LEGAL STANDARD: RULE 702 and DAUBERT V. MERRELL DOW PHARMACEUTICALS,
   INC., 509 U.S. 579 (1993)
           Federal Rule of Evidence (“FRE” or “Rule”) 702 governs admission of expert testimony in federal
   court. The Supreme Court charged the district courts with a gatekeeping “function over such testimony
   to ensure it has a reliable foundation and is relevant to the task at hand.” Daubert v. Merrell Dow
   Pharmaceuticals, Inc., 509 U.S. 579, 590-591 (1993)
           The Third Circuit has acknowledged that relevance and reliability are requisite qualities of
   expert testimony, with the former evaluated under the standard expressed in Rule 401. U.S. v. Ford, 481
   F.3d 215, 218 (3d Cir. 2007). As for relevance or fit, expert testimony must have a tendency to make the
   existence of any fact of consequence to the determination of the task at hand more probable or less
   probable than it would be without the evidence. Ibid. citing Amorgianos v. Nat’l R.R. Passenger Corp.,
   303 F.3d 256, 265 (2d Cir. 2002).
           As for reliability, that expert testimony admitted at trial is or has:
   (a) scientific, technical, or other specialized knowledge that will help the trier of fact to understand the
   evidence or to determine a fact in issue;
   (b) a basis on sufficient facts or data;
   (c) been deduced from reliable principles and methods; and
   (d) a reliable application of the principles and methods to the facts of the case. Rule 702.
           Besides these, a court may consider the following factors enumerated in Daubert, which relate
   to the expert’s methodology in arriving at the opinion:
   (1) whether the methodology or theory has been or can be tested;
   (2) whether the methodology or theory has been subjected to peer review and publication;
   (3) the methodology’s error rate and the existence and maintenance of standards controlling the
   technique’s operation; and
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   (4) whether the methodology or technique has gained general acceptance in the relevant scientific
   community. Daubert, 509 U.S. at 593-94.

           While “Rule 702 sets forth specific criteria for the court’s consideration, the Daubert inquiry is
   fluid and will necessarily vary from case to case” (Amorgianos, 303 F.3d at 266 quoting Daubert, 509
   U.S. at 593) and do not form a definitive test. Proffered expert testimony can fail all four of the Daubert
   methodology factors and still be admitted so long as the court takes a hard look at the expert’s
   methodology. This means “any step that renders the expert’s analysis unreliable under the Daubert
   factors renders the expert's testimony inadmissible. This is true whether the step completely changes a
   reliable methodology or merely misapplies that methodology. In re Paoli R.R. Yard PCB Litig., 35 F.3d 717,
   745 (3d Cir.1994). [emphasis in the original].

           A court has “considerable leeway in deciding [ ] how to go about determining whether
   particular expert testimony is reliable” (Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 152, (1999)).
   “The evidentiary requirement of reliability is lower than the merits standard of correctness” and a judge
   may not and need not think an expert is correct. Paoli, 35 F.3d at 744–45. That is, admissibility of an
   expert’s opinion depends not on “[w]hether the ... expert might have done a better job” (Kannankeril v.
   Terminix Intern., Inc., 128 F.3d 802, 809 (3d Cir. 1997)), but is a multi-factor assessment of the
   testimony’s fit and reliability.

           Ultimately, a court must “make certain that an expert, whether basing testimony upon
   professional studies or personal experience, employs in the courtroom the same level of intellectual
   rigor that characterizes the practice of an expert in the relevant field.” Kumho Tire Co., 526 U.S.
   at 152. Emphasizing that a court’s inquiry under Rule 702 must focus “solely on principles and
   methodology, not on the conclusions they generate” (Daubert, 509 U.S.at 595), the Supreme Court
   later clarified that “conclusions and methodology are not entirely distinct from one another.” General
   Electric Company v. Joiner, 522 U.S. 136, 146 (1997). Even though “[t]rained experts commonly
   extrapolate from existing data, nothing in either Daubert or the Federal Rules of Evidence requires a
   district court to admit opinion evidence that is connected to existing data only by the ipse dixit of the
   expert. A court may conclude that there is simply too great an analytical gap between the data and the
   opinion proffered” (Ibid.) and preclude the testimony.

           And, it is only after the court’s decision on the admissibility of the expert’s opinion that
   questions of its credibility arise. However, whether the expert’s testimony is credible—carries weight
   or is correct—is not resolved by the court in deciding a motion to preclude, but is for the fact-finder to
   determine. Kannankeril , 128 F.3d at 810.
    3.0    MOTIONS THIS OPINION RESOLVES
           Table 1 lists in alphabetical order the defendants’ liability experts and Table 2 the plaintiff’s
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   liability experts. These tables also list the ECF Doc. No. of the opposing party’s motion to preclude.
   Each liability report was opposed by the other part, unredacted, and filed under sea. The Court review
   the unredacted reports. Redacted reports are available for purview on ECF.


   Table 1: Defendants’ Liability Experts
              Expert               ECF Doc No. of         Retained by                Report Date
                                   Plaintiffs’ Motion     Which
                                   to Preclude            Defendant
   Ali Afnan, PhD                          2286                ZHP            Amended Report 11 Jan 2023
   Timothy Anderson, MS, MBA               2297                Teva                  12 Jan 2022
   Steven Baertschi, PhD                   2289            Teva & ZHP                19 Dec 2022
   Michael Bottorff, PharmD                2293            Defendants                 12 Jan 2022
   John Flack, MD, MPH                     2298            Defendants                 19 Dec 2022
   Timothy Kosty, RPh, MBA                 2299            Defendants                    19 Dec 2022
   Akhilish Nagaich, PhD                   2301              Torrent                     22 Dec 2022
   Roger Williams, MD                      2295                Teva            Revised Report 28 Jan 2023
   Fengtian Xue, PhD                       2288                ZHP                       22 Dec 2022


   Table 2: Plaintiffs’ Liability Experts
               Expert                ECF Doc No. of           Retained by              Report Date
                                     Defendants’ Motions
                                     to Preclude
    Susan Bain, DRsc                         2284                Plaintiffs             31 Oct 2022
    Laura Craft, MPH, JD                     2287                      “                31 Oct 2022
    Stephen Hecht, PhD &                     2292                      “                 6 Jul 2021
    Ramin Najafi, PhD                                                                   31 Oct 2022
    Kaliope Panagos, PharmD                  2291                      “                31 Oct 2022
    Laura Plunkett, PhD                      2285                      “                31 Oct 2022
    Philip Russ, BS                          2296                      “                31 Oct 2022


   4.0     DEFENDANTS’ LIABILITY EXPERTS
   Ali Afnan, PhD
           Plaintiffs’ motion Doc. No. 2286 is GRANTED IN PART AND DENIED IN PART. Defendants
   asked Afnan to evaluate and respond to plaintiffs’ experts who averred that, in its manufacture of the
   valsartan API, defendant Zhejiang Huahai Pharmaceuticals Co. Ltd. [“ZHP”] was not in compliance with
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   FDA requirements, including current Good Manufacturing Processes [“cGMPs”].
           Afnan’s general opinion is that, in making and selling valsartan API, ZHP complied not only with
   FDA guidances setting forth cGMPs but also with standards established by the U.S. Pharmacopeia
   [“USP”] and International Council for Harmonization of Technical Requirements for Pharmaceuticals
   for Human Use (“ICH”). Afnan’s opinion boils down to: ZHP is not liable for the introduction of
   nitrosamines into its API because it practiced the industry standards of the time in testing the purity
   and quality of its API. An underlying premise of his opinion is that, since the FDA did not know how to
   adequately test for nitrosamines before its 2018 recall of VCDs, how could a valsartan API drug
   manufacturer be expected to know how to do that.
           The Court views this “industry standard” premise (which is repeated in similar ways in many
   opinions reviewed here) as bordering on a legal opinion as to the responsibility of the API and finished
   dose manufacturers. The Court clarifies that such opinion is to be presented to a fact finder in
   decidedly limited way. That is, Afnan (and other experts) may testify about a “fact” that arises from
   their chemical, medical, toxicological, regulatory, etc. expertise: e.g., that to the best of their
   knowledge and experience, at the time of the FDA recall of VCDs in 2018, the FDA had not yet
   developed an adequate test for nitrosamines formed in ZHP’s solvent extraction processes.
           Importantly, Afnan (and other experts) may NOT testify, imply, hint, or suggest to a fact-finder
   as to the LEGAL MEANING, i.e., the liability meaning, of the lack of such guidance, and specifically that
   the FDA’s lack of guidance gives defendants a pass on liability. Such opinion is not helpful to the fact
   finder, contrary to Rule 702(a).
           Specifically, Afnan is PRECLUDED from presenting to a fact finder the opinions in the
   paragraphs listed below because they cross over into legal opinions for which he is unqualified to assert:
           In ¶24 of his report, that the VCDs were not adulterated because the way he asserts this opinion
   is not based on an FDA’s or other legal body’s determination;
           In ¶53, that the lack of standards or guidance in any industry-recognized standard such as an
   FDA guidance, USP standard, etc. for testing nitrosamines provides LEGAL assurance that ZHP was
   diligent in testing for nitrosamines; and that the specific guidance document in this paragraph does not
   provide legally enforceable requirements for pharmaceutical product manufacturers;
           ¶64, because it is pure ipse dixit;
           ¶69, any assertion of therapeutical equivalence between VCDs and the RLD, Diovan®;
           ¶138, as this paragraph states Afnan’s opinions about the definitions of “adulterated” and
   “bioequivalent”, which Afnan is not qualified to state and is therefore not helpful to the fact-finder.
           ¶153, because Afnan is no legal expert who may opine on the meaning and implications of the
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   causation opinion of 6 Dec 2022 in In re Zantac MDL.1
             The opinions in other paragraphs of Afnan’s report are NOT PRECLUDED.


    Timothy Anderson, MS, MBA
             Plaintiffs’ motion Doc. No. 2297 is GRANTED IN PART AND DENIED IN PART. Teva asked
   Anderson to opine on documents discussing Teva’s compliance with cGMPs based on inspection
   reports by the FDA and the Government of Malta Medicines Authority of Teva manufacturing facilities.
   Teva also asked Anderson to review Teva’s periodic audits of reports from ZHP and Mylan (Teva’s API
   suppliers). Anderson’s task was to detect whether Teva audits of its suppliers’ and regulators’ reports
   revealed any suspicions about API contamination. Put differently, Anderson is looking at Teva’s own
   reviews of external reports to see if Teva could or should have known the API was contaminated.
   Lastly, Teva asked him to opine on the assertions of plaintiff’s liability expert John Quick regarding
   Teva’s lack of compliance with FDA guidances and regulations.
             Anderson’s general opinion is that he saw nothing in Teva’s own audits of the periodic reports
   from regulators or API supplies to suggest that nitrosamines were, would be, or could be present in API
   purchased from ZHP and Mylan. Moreover, Anderson’s report lacked a statement of reliable
   methodology. The Court has interpreted his methodology from the content of his report:
             - basically he compares Teva’s internal reviews (audits) of external reports against what is
   stated in the external reports from the API manufacturers and the regulatory authorities;
             -to contextualize his “review” of Teva’s “reviews”, he reads and interprets the relevant FDA and
   Malta cGMPs contemporaneous to the VCD contamination; and
             -he reads and interprets Teva’s Quality Control [“QC”] and Risk Management policies and
   Standards of Procedures [“SOP]”.
             To form his opinions, Anderson compares his interpretations of the cGMPs with his
   interpretation of Teva’s QC and Risk Management procedures. He opines Teva acted in line with
   contemporaneous cGMPs and acted diligently with regard to testing for nitrosamines in the API it
   received from ZHP and Mylan.
             Anderson’s opinions rely on his self-identification as an “Expert Reader” of cGMPs, which
   creates the methodological problem of self-reference. Identifying oneself as an expert and then
   opining from the position of “self-defined expert” lacks reliability as it is based only on expert’s
   declaration that he is an expert.
             As alluded to above, his report lacks a transparent explanation of his methodology. At its most


   1 Which by the way Afnan is incorrect about.
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   fundamental, Anderson compared what Teva reported it saw (in its audits) with the periodic reports
   from the regulators and API manufacturers. He then opined that Teva’s audits did not disagree with
   these reports. Anderson also opined that Teva’s audits did not disagree with his interpretations of the
   regulators’ cGMPs. In essence, Anderson’s opinions are based solely on his interpretations of the
   alignment between Teva’s audits and the regulators’ cGMPs. His opinion represents no independent
   methodology against which his opinion can be measured.
           A third problem in Anderson’s report is that he opines that Teva was complying with “industry
   standards” set forth by regulatory authorities. In fact, he opines that Teva adopted the industry
   standard of NOT independently verifying the information in API suppliers’ reports. As pointed out
   earlier, compliance with “industry standards” constitutes a legal opinion as to negligent or diligent
   conduct, a conclusion Anderson is not qualified to make and which is not helpful to the fact-finder. To
   be clear, Anderson’s unstated bridging argument is that compliance with “industry standards” cannot
   ever fall short of the diligence needed to demonstrate the requisite duty of care. Not only is this
   argument circular but it sets up a house-of-cards ”legal” standard for the duty of care. Put simply,
   compliance with industry standards does not automatically impart compliance with the legal “duty of
   care”. Equating “industry standards” to the legal “duty of care” must rely on more than an expert’s
   mere assertions. Indeed, who determines if the legal “duty of care” has been met is for the fact-finder,
   not an expert, to determine.
           In addition, Anderson never specifies whether he has looked at a sample or all of Teva audits of
   the regulators’ or suppliers’. Again, this points to a lack of reliable methodology. Anderson has set up
   no independent yardstick of factors, criteria, checkpoints that would provide even an ordinal analysis as
   to the reliability of his review of Teva’s “reviews” of ZHP reports. Simply, there is a complete absence
   of an underlying recognized rationale or literature search or scientific method supporting Anderson’s
   opinion that Teva’s “reviews” sufficed.
           The opinions, implications, and statements in the following paragraphs and sections in
   Anderson’s report are PRECLUDED:
           In ¶¶ 22-25 there is cited no reliable methodology to back up his opinion that Teva did not have
   evidence from regulatory auditors and inspectors that nitrosamines would be present in the API Teva
   got from ZHP or Mylan;
           In ¶28 he states a legal opinion about the meaning of an FDA Guidance;
           In ¶¶77, 80, 81, 90, 181 he implies he is an expert on the meaning and interpretation of FDA
   regulations and on the FDA definition of adulteration and on how the FDA applies that definition to
   drugs that contain contaminants not included in the Orange Book formulation;
           In the Appendix Attached to Anderson’s Report: All Information in Tables on pages 36 to 38;
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           Anderson’s Self-Identification as an “Expert Reader” of Health Regulator’s cGMPs, Guidances,
   etc. because that term is undefined and therefore constitutes ipse dixit;
           As the precluded liability opinions are intertwined throughout Anderson’s report, ONLY the
   opinions in the following paragraphs of Anderson’s report are NOT PRECLUDED: ¶¶30 - 43.


   Steven Baertschi, PhD
           Plaintiff’s motion to preclude Doc. No. 2289 is GRANTED IN PART AND DENIED IN PART.
   Baertschi’s report has the same overall thesis as Anderson’s and Afnan’s: As there was no industry
   standard, i.e., guidance or cGMP from the FDA or elsewhere, to recommend or identify a test for
   nitrosamines when ZHP solvent extraction changes were introduced, Teva was not negligent for not
   testing for nitrosamines using certain Gas Chromatographic methods. Put simply, following industry
   standards at the time relieves Teva from negligent liability for the introduction of nitrosamines in its
   VCD finished dose products sold in the U.S.
           Baertschi’s methodology is not clearly reliable because he reviewed only those documents that
   support his opinion summary stated in the previous paragraph. He did not review the cGMPs and all the
   relevant FDA reports, warning letters, etc. relating to the Valsartan recalls of the Teva’s products and
   ZHP’s API.
           In his opinion summary in ¶¶12-16, Baertschi states that analyzing low-level nitrosamine
   impurities in VCDs is extremely difficult and calls for specialized equipment, analytical testing methods
   and expertise. Further, prior to the FDA recall of VCDs in July 2018, industry standards for specification
   testing of VCDs did not include methods capable of detecting nitrosamines at the levels at issue in the
   MDL. Moreover, Teva acted as a reasonably prudent and careful manufacturer in making valsartan
   finished dose from the ZHP API manufactured by the changed solvent processes because it used the
   testing required by the USP Monography, the ANDA, and ICH M7 and conducted appropriate reviews
   and testing of residual solvents.
           Baertschi opines it was reasonable and appropriate for Teva not to perform further analysis of
   unidentified peaks seen on Teva’s chromatograms of valsartan API batches, precisely because the
   collective industry “mindset” had not indicated that such difficult testing was necessary. Thus,
   Baertschi’s opinion relies on his interpretation that, when ZHP solvent extraction changes occurred, the
   “industry culture” either did not know or did not recognize the possibility of nitrosamine contamination
   resulting from those solvent changes. Therefore Teva not only gets a pass on negligence liability but,
   because of this lack of knowledge, Teva’s valsartan finished doses must be considered the same as the
   RLD.
           Baertschi’s opinion about what the industry knew, i.e., the industry “culture” at the time of ZHP
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   solvent extraction process changes, is not backed up by reliable methodology, that is, a positivistic,
   reliable search either in the literature or by random sampling of industry experts’ opinions. Baertschi’s
   opinion, like the previous ones reviewed here, is based on reference to what the Court has been calling
   “industry standards”, such as FDA guidances, USP monographs, etc. It presumes that the absence of
   such industry standards suffices to relieve negligence liability.
            Baertschi’s opinions suffer from the same, unstated bridging argument that lack of knowledge,
    and reliance on that, relieves liability. This “I didn’t know and likely couldn’t have known” argument
    tries to give the fact-finder an a priori, wrapped-up legal standard as to the legally appropriate duty of
    care, which Baertschi is not qualified to do.
            The opinions in the following paragraphs and sections in Baertschi’s report are PRECLUDED:
    ¶¶14 – 16 all opinions here, especially that Teva’s valsartan finished dose product are the “same” as the
    RLD, are not supported by reliable methodology, such as FDA literature, etc.
    ¶¶29 – 32 all opinions here, and especially, that drug manufacturers do not test for every impurity and
    it is particularly difficult to detect and quantify impurities at such low levels as nitrosamine levels found
    in valsartan because they are not supported by reliable methodology;
    ¶¶ 33 - 37 all opinions here, and especially, that the specification testing for VCDs prior to July 2018 did
    not include testing capable of detecting NDMA at the levels at issue and that Teva’s finished dose
    product was the “same” as the RLD, because they are not supported by reliable methodology.
    ¶¶38 - 56 all opinions here, and especially, that Teva’s following industry standards sufficed to show it
    acted as a reasonably prudent and careful actor, because that is not supported by reliable methodology
    and is not helpful to the fact-finder. What this means is that all his opinions regarding Teva’s prudent
    conduct is pure ipse dixit.
    ¶¶58 – 61 all opinions here, for the same reasons as for ¶¶38 – 56.


    Michael Bottorff, PharmD
            Plaintiffs’ motion Doc. No. 2293 is GRANTED IN PART AND DENIED IN PART. Bottorff’s
    liability report is the very same as his class certification one, which raises a question as to its lack of fit or
    relevance to the task at hand.
            To keep this simple, the Court both reiterates its findings in its Class Certification Opinion and
    then addresses the precluded information in Bottorff’s report regarding liability:
            As expected, the following of Dr. Bottorff’s statements in his Class Certification Report are
    PRECLUDED from being presented to a fact finder as these improperly expanded on his causation
    opinion:
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             - “Oral doses at the levels detected in the generic valsartan at issue in this litigation are
    metabolized in the liver almost completely, preventing exposure to other tissues and organs” (Bottorff
    Class Certification Report at 48:761-762);
        - “NDMA/NDEA in valsartan will not reach systemic circulation” (Bottorff Class Certification
        Report at 47: 779); and
        - “DNA repair mechanisms in humans can be as much as 10 times higher than that in rats,
        indicating a more active DNA repair in humans compared to rats” (Bottorff Class Cert. Report at
        52:830-831).
    Moreover, almost all opinions in Bottorff’s class certification report is PRECLUDED from being
    presented to a fact finder as unfit for purpose of pointing out liability from a pharmacological
    perspective.
                 What is NOT PRECLUDED in Bottorff’s liability report is the simple statement that
    contaminated VCDs function the same in the human body as uncontaminated VCDs. Although
    Bottorff’s report offered no pharmacological evidence or reliable test results to support this statement,
    plaintiffs may seek such support from Bottorff in cross-examination. Further, Bottorff’s testimony to
    the fact finder is restricted to the pharmacological effect in the human body of contaminated and
    uncontaminated VCDs.
                 Bottorff is specifically PRECLUDED from presenting the following opinions or testimony to a
    fact-finder:
    -Using, defining, explaining the term “therapeutic equivalence” or clarifying his interpretation of that
    term;
    -Implying, suggesting, hinting, or opining that contaminated VCDs bear reduced liability because
    they have the same or substantially similar clinical action or pharmacokinetics in the human body
    because Bottorff is not a qualified expert on the liability of contaminated drugs.
                 To be clear, although he may opine on the pharmacokinetic action of VCDs in the body,
    Bottorff is specifically PRECLUDED from opining that such action points to or supports reduced legal
    liability.


    John Flack, MD
                 Plaintiffs’ motion Doc. No. 2298 is GRANTED IN PART AND DENIED IN PART. Defendants
    asked Flack whether the amounts of NDMA and NDEA found in the contaminated VCDs affected the
    clinical benefit of those who ingested them. As a medical doctor with much experience in hypertension
    research and clinical practice, Flack is qualified to opine on this point. Therefore, the Court finds that
    most of Flack’s report is background and of use to the fact-finder because it relates to hypertensive
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   drugs such as valsartan and their effectiveness in treating high blood pressure and other cardiovascular
   conditions. Therefore, most of his opinions in Flack’s report is NOT PRECLUDED, including his opinion
    that patients received hypertensive benefits from taking contaminated VCDs.
            However, two of his opinions are PRECLUDED. First, based on his clinical experience, Flack
    opines that the VCD recalls of 2018 did not adversely affect his ability to treat patients by prescribing
    comparably effective hypertensive substitutes. This opinion suggests that, if Flack had no trouble
    regulating the blood pressure of his patients with hypertensive substitutes, then what liability could
    defendants bear for the VCD contamination? Since patients’ health did not suffer and TPPs paid for
    sufficiently effective, substitute hypertensive medicines they would have had to pay for anyway,
    where’s the harm? Without commenting on the correctness of this opinion, the Court notes Flack’s
    opinion is based solely on anecdotal evidence from his clinical practice. In effect, Flack seeks to
    generalize from such anecdotal evidence to the universe of all those patients who continued to take
    contaminated VCDs or who adopted hypertensive substitutes. This opinion is PRECLUDED as a
    “common sense” argument that makes no attempt at anything that resembles reliable methodology.
            Second, Flack steps outside his expertise and, without citing reliable methodology, opines that,
    since patients still had their blood pressure lowered by contaminated VCDs, TPPs also received benefit
    from the VCDs. Flack implies TPPs gained economic benefit by not having to pay for alternative
    hypertensives and avoiding payment of serious cardiovascular health outcomes. Flack is indirectly
    opining not only on defendants’ economic loss liability, but also on the economic loss damages owed to
    TPPs. This opinion is not supported by any literature, research, common medical understanding,
    economic expertise; it’s just Flack’s say-so. Therefore, the opinion that TPPs also received economic
    benefit from the sale of contaminated VCDs is PRECLUDED.
            More specifically, Flack’s opinions are
    NOT PRECLUDED: on pages 6 - 10;
    PRECLUDED: on page 11 for those paragraphs that state TPPs benefitted from the VCDs;
    NOT PRECLUDED: on pages 11 - 14 other than as noted above;
    PRECLUDED: on page 14 for those paragraphs opining on his anecdotal observations that he saw no
    drop in clinical benefit with hypertensive substitutes as there’s no stated methodology as to whether
    his observations pertain to a few, some, or all of his hypertensive patients.
    PRECLUDED: on pages 15 – 16 for those opinions about what TPPs would have done or not done
    regarding the coverage for prescribed, alternative drugs.
    PRECLUDED: on pages 16 - 17 for any of his conclusions specifically precluded above.
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   Timothy Kosty, BS, MBA
            Plaintiffs’ motion Doc. No. 2299 is GRANTED IN PART AND DENIED IN PART. Among other
   things, defendants asked Kosty to explain if TPPs offering prescription drug plans under Medicare Part
   D (like the TPPs SummaCare and Emblem) are even able to calculate their payments for covered VCDs
    and by extension their economic losses. In general, Kosty’s opinion is that TPPs cannot calculate their
    economic losses for drugs covered under Medicare Part D because the federal government, as
    principally responsible for coverage of Medicare-D drugs, have varying and complex payment
    reimbursements and rebates that resist accurate reconstitution of economic loss.
            In addition, Kosty opines that plaintiffs’ liability expert Panagos is incorrect in her opinion that
    TPPs regard the Orange Book as an “assurance” that the generic drug is the same as the RLD. As
    discussed below, Panagos’s liability opinion on how TPPs regard the Orange Book has been precluded
    as impermissible for lack of reliable methodology as to how TPPs make formulary decisions. And for
    the same reason, Kosty’s opinion about the incorrectness of Panagos’ opinion is also PRECLUDED.
   Like Panagos’, Kosty’s opinion lacks reliable methodology and devolves to just his unsupported
   assertion.
            The heart of Kosty’s opinion is that, since he knows how complicated the federal government’s
   rebate and reimbursement system is, it is near impossible for TPPs to calculate actual economic loss.
   There is no reliable methodology: no assertion of what theses rebates and reimbursement reductions
   are—not even anecdotal examples, just his asserted understanding of the complexity of the federal
   government’s Medicare Part D rebate system. Kosty’s opinions on whether TPPs can calculate
   economic loss damages from Medicare Part D prescription drug payments are PRECLUDED. This is so,
    not because he is incorrect about the complexity—this Court does not preclude testimony on a
    credibility determination—but because there is no showing that his testimony is reliably supported.
            In addition, and for the same reasons, Kosty’s opinions are PRECLUDED as to the inability of
    plaintiffs’ expert Laura Craft to calculate TPP economic loss.
            Specifically, the opinions in the following paragraphs are NOT PRECLUDED in Kosty’s liability
    report: ¶¶49 - 56. There largely provide background on Formulary Management on which he is
    qualified to opine and which may help the fact-finder. The opinions in the following paragraphs of
    Kosty’s liability report are PRECLUDED: ¶¶26, 32, 37, 38, 42 - 48, 62, and 66 - 68.


    Akhilesh Nagaich, PhD
            Plaintiffs’ motion Doc. No. 2301 is GRANTED IN PART AND DENIED IN PART. Torrent asked
    Nagaich to opine that Torrent practiced the proper cGMPs both in engaging ZHP as its API supplier and
    in evaluating ZHP’s API. Torrent also asked Nagaich to rebut the opinions in the reports of plaintiffs’
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   liability experts Laura Plunkett and Philip Russ.
              Nagaich states that for the last four years he has worked as an independent Senior FDA /
    industry consultant, advising pharmaceutical companies on regulatory strategies and clinical
   development of drugs, vaccines, biologics, etc. In the last 10 years, which corresponds to the relevant
   period of the negligence claims against Torrent, Nagaich has held six different positions with six
   different employers. During this relevant period, Nagaich was exploring lateral career moves to learn
    regulatory management at smaller pharmaceutical companies. The Court does not disqualify Nagaich
    but raises a question about his overall qualification to opine on the sufficiency of Torrent’s cGMP
    compliance.
              More importantly, there is no stated methodology in Nagaich’s report. While it is clear that
    Nagaich reviewed some documents upon which he based his opinion, it’s completely unclear whether
    the reviewed documents were cherry-picked to highlight Torrent’s compliance. Without, for example,
    a transparent statement from Nagaich that he relied on all relevant documents from the FDA, the Court
    cannot glean how much of his opinions is ipse dixit from an expert whose understanding about
    regulatory compliance may be less than redoubtable.
              Section three of Nagaich’s report comprising ¶¶20 - 68 discusses background on the drug
    industry, ANDAs and FDA Inspections, Recommendations, and Letters to a manufacturer. The
    opinions in these paragraphs are NOT PRECLUDED because they are largely background Nagaich is
    qualified to discuss and may be of help to the fact-finder. Also, NOT PRECLUDED for the same
    reasons are Nagaich’s opinions in ¶¶69 -72, ¶¶ 81- 84, ¶¶99 -103, ¶¶ 105 - 106, 108 – 109 of his liability
    report.
              However, the opinions in the following paragraphs of Nagaich’s liability report are
    PRECLUDED:
    ¶¶73 – 78, because Nagaich provides no independent, reliable methodology or reliable metrics
    supporting his opinion that Ms. Jenny Yang was a qualified auditor of an API manufacturing site. He
    merely asserts she was qualified. Ordinarily, had Nagaich cited support for Yang’s qualifications, the
    Court would not have precluded these paragraphs but rather viewed them as a credibility clash
    between Nagaich’s opinions and Russ’s.
              Nonetheless, this is not a credibility problem but an admissibility one. Nagaich properly cannot
    rebut Russ’s opinions that question whether Yang was qualified to audit the ZHP API site because
    Nagaich has not reliably so shown. If Yang were unqualified, then her observations would be incapable
    of supporting Nagaich’s opinions. Since Nagaich’s report is silent as to how Yang is qualified, Yang’s
    reports ring hollow and can support neither Nagaich’s opinion that Torrent sufficiently reviewed its API
    manufacturer not Nagaich’s contentions about Russ’s opinions.
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   ¶¶ 79 - 80 because Nagaich avers the basic grounding of his opinion is that Torrent followed industry
    standards. As discussed above, whether industry standards equate to the legal standard for duty of
    care is a question for the fact-finder. Nagaich is unqualified to opine on what is, in essence, a legal
    opinion about possible non-negligent behavior.
    ¶¶ 88 - 94 because, again these opinions are grounded in an assertion that Torrent followed the
    industry standard, and that such standard sufficed to relieve Torrent of liability. Again, this is a subtle
    legal opinion Nagaich is unqualified to make;
    ¶¶ 95 - 97 because the opinion is an unjustified legal interpretation of what constitutes compliance with
    USP 469;
    ¶104 for the same reasons as stated for precluding ¶¶79 - 80;
    ¶ 107 restates opinions precluded above.


    Roger Williams, MD
            Plaintiffs’ motion Doc. No. 2301 is GRANTED IN PART AND DENIED IN PART. Defendant
    Teva asked Williams to opine on the sufficiency of Teva’s regulatory activity and compliance conduct
    with respect to finished doses containing contaminated valsartan API. Williams stated three summary
    opinions:
            First: Based on FDA communications, it appeared the FDA did not know or expect the
    formation of nitrosamines in valsartan API when ZHP changed its solvent extraction process.
    Therefore, because of the FDA’s statements and a corresponding lack of guidance or cGMP information
    from the FDA, Teva could not have known or expected such formation. Teva therefore acted as a
    reasonably prudent and careful manufacturer in the making, inspecting and testing of its valsartan
    products and could not have reasonably foreseen that either the valsartan API or its valsartan finished
    drug product would contain NDMA and/or NDEA.
            Second, since Teva complied with industry standards and all applicable laws, statutes, rules and
    regulations in obtaining FDA approval for its ANDA products containing valsartan, Teva’s contaminated
    VCD products sold in the US were at all times prior to the recall in July 2018, therapeutically equivalent
    (both pharmaceutically equivalent and bioequivalent) and AB-rated to their branded counterparts and
    were not adulterated or misbranded. This is because until FDA identified the contaminated finished
    doses as adulterated, they were not “adulterated”.
            Since Teva could not have known about the potential for nitrosamine contamination because
    the FDA itself did not know, Teva could not and did not make any false or incorrect statements about
    its valsartan containing products. Moreover, by following the FDA’s process for approval of its ANDAs
    for valsartan-containing finished doses, Teva used reasonable care to ensure its statements about its
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   valsartan containing products were correct and accurate based on information available at the time.
            Third, since generally an FDA Type II DMF review is confidential, and due to the FDA’s Type II
   DMF review of Teva’s ANDAs, Teva’s conduct was that of a reasonably careful and prudent
   manufacturer because Teva felt assured that its FDA-approved VCD products were of good,
    merchantable quality, and therefore suitable for sale in the US market prior to their recall.
            Williams re-iterates these opinions in several paragraphs in his report. All three of these
   opinions and any variations of them in his report are PRECLUDED for the following reasons:
            Williams’ opinions ultimately rely on an “industry standard” rationale. That is, since Teva’s
    conduct either conformed to the industry standards of reviewing API manufacturer reports before recall
    or relying on the FDA’s findings as to whether its API manufacturer’s processes sufficed, Teva’s review
   conduct sufficed to show the requisite duty of care in producing and selling its finished doses in the U.S.
            These opinions are not helpful to the fact-finder. Although clearly an expert on FDA processes,
    he is no expert on the legal interpretation of Teva’s reliance on “industry standards” to show a requisite
   duty of care and lack of intent to avoid negligence or fraud liability. This decision has nothing to do
    with whether Teva is liable or not, but that Williams is not qualified to make such a legal conclusion and
    wrap it up as fait accompli to the fact-finder.
            The Court finds that much of Williams’ liability report is of use to the fact-finder. Therefore,
    paragraphs up to and including ¶101 are NOT PRECLUDED, except for Williams’ Summary of
    Opinions.
            The following opinions in these paragraphs of Williams’ liability report are PRECLUDED:
            ¶¶ 20 – 23 as the Summary of Opinions, which deduces a legal conclusion and is therefore not
    helpful to the fact-finder;
            ¶107 for Williams’ conclusion that nitrosamine formation for the various solvent extraction
    processes at issue in this MDL was unknown. That FDA chemist reviewers may not have expected
    nitrosamine formation in no way confirms that such formation was unknown to the chemical expert
    community. So Williams’ conclusion about the unknown nature of nitrosamine formation is based on
    his belief that the FDA would have known about it, which is an untested and unsupported presumption;
            ¶130 Williams asserts Teva’s reasonably prudent conduct is based on what a manufacturer
    would have “reasonably foreseen”, which invokes a legal conclusion about an objective, “reasonably
    prudent” manufacturer’s conduct. Any statements or opinions in his report where Williams uses
    “reasonably prudent” and “reasonably foreseen” language are PRECLUDED, regardless of whether the
    Court has enumerated the relevant paragraph here;
            ¶133 Williams subtly overstates the understanding at the time of recall in Jun 2018 about the
    formation of nitrosamines in the altered solvent extraction processes. He implies that, since the FDA
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   did not understand or expect nitrosamine formation, there was no understanding in the scientific
   community about that. This overstatement is supported by neither reliable citation nor methodology;
            ¶136 Williams states that the contaminated VCDs could not have been “adulterated” before the
    FDA became aware of the contamination in the summer of 2018. This is sophistry, which attempts to
    avoid a retrospective characterization of Teva’s finished dose products as “adulterated” from the start
    of the nitrosamine contamination. Again, Williams is stating a legal opinion about whether the FDA
    applies “adulteration” retrospectively, which is therefore not helpful to the fact-finder;
            ¶139-140 because these paragraphs are not helpful to the fact-finders’ determination of Teva’s
    reasonably prudent conduct;
            ¶147 as this conclusion is not helpful to the fact-finder;
            ¶149 because Williams’ use of the term “not adulterated” implies that the FDA would apply the
    term “adulterated” only in a prospective sense. Williams does not consider that the term “adulterated”
    in a legally appropriate way may characterize the contaminated VCDs before the FDA recall in 2018. He
    offers no legal justification for his exclusive, prospective use of the term “adulterated” and this
    presumption is not helpful to the fact-finder;
            ¶150 the FDA Orange Book is not a warranty, which rebuts the liability report of plaintiffs’
    expert Panagos. Neither Panagos nor Williams can attest to whether TPPs regard the Orange Book
    formulation as a warranty or not. None of the parties’ liability experts promoting or refuting such a
    conclusion has backed up their conclusion with reliable evidence from TPPs;
            ¶157 - 161 Williams implies that FDA ANDA approval correctly, expertly and diligently sufficient
    gives the ANDA holder a liability pass on the sufficiency of their duty of care in producing drugs
    equivalent to the RLD. Such ANDA approval creates an “industry standard” that Teva acted with
    sufficient duty of care. The unstated premise in Williams’ opinion is the unswerving correctness of FDA
    conduct, which lacks evidence and reliable methodology in his report. Moreover, his opinion that an
    FDA imprimatur of an ANDA is always correct upon which an ANDA seeker may rely as an “industry
    standard” is a legal conclusion that vitiates the manufacturer’s independent liability, which is not
    helpful to the fact-finder;.
            ¶162 – 166 mirrors the Summary of Opinions discussed above and for those reasons are
    PRECLUDED.


     Fengtian Xue, PhD
            Plaintiffs’ motion Doc. No. 2288 is GRANTED IN PART AND DENIED IN PART. Defendant
    ZHP asked Xue to opine, from an organic chemistry perspective, on whether:
            (1) ZHP did sufficient and appropriate risk assessments before making certain changes to its
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   manufacturing process for the valsartan API;
            (2) ZHP did sufficient and appropriate testing of its Valsartan API during the period when the
    API was sold in the United States;
            (3) ZHP knew, or reasonably should have known, that any of the manufacturing processes it
    used to create Valsartan API could result in the formation of NDMA or NDEA; and
            (4) ZHP acted appropriately in responding to reports of NDMA/NDEA in its Valsartan API.
            Xue’s opinions on these four points are PRECLUDED because of his admitted lack of real-world
    experience and expertise with the organic chemistry of nitrosamine formation in ZHP’s manufacturing
    processes. These include the “Tin”, the “TEA” (with or without quenching), and the “Zinc Chloride”
    processes, all of which form a tetrazole compound in the presence of a catalyst.
            This is not to say that Xue does not understand or cannot explain the chemistry of these
    processes. Nonetheless, the Court finds Xue’s opining on the sufficiency of ZHP’s conduct during the
    process changes to be pedantic, not based on his expertise. Xue admits he achieved an understanding
    of nitrosamine chemistry only after ZHP had asked him to review this chemistry and comment on ZHP’s
    conduct during process changes. Because of Xue’s more or less academic approach, the Court cannot
    discern to what extent Xue’s opinions arise from a superficial exercise to provide textbook chemistry
    explanations and lack a nuanced understanding of the implications of ZHP’s moving from the “Tin”
    process to the “TEA” or “Zinc Chloride” processes. Put simply, the Court is assured Xue has expertise in
    organic chemistry generally, but not assured as to his expertise in the chemistry of nitrosamine
    formation and what that means for ZHP’s diligence in preventing it in the valsartan API. For this
    reason, opinions and information from pages 5 to 15 in Xue’s liability report are NOT PRECLUDED
    because that may be helpful background to a fact finder.
            However, the Court PRECLUDES the opinions in the rest and remainder of Xue’s report.


    5.0     PLAINTIFFS’ LIABILITY EXPERTS
    Susan Bain, DRSc
            Defendants’ motion Doc. No. 2284 is GRANTED IN PART AND DENIED IN PART. Bain’s
    report does not state why plaintiffs requested it and the Court interprets the report’s relevance from its
    content. Bain reviewed ZHP documents describing ZHP’s conduct in changing its solvent extraction
    process and compares that conduct against certain cGMPs stated in the Code of Federal Regulations
    [“CFR”]. Besides an absent statement of relevance, Bain’s report reveals that she’s had a total of 11
    years of practice as a reviewer / recommender of regulatory compliance strategies. After achieving a
    PhD in Regulatory Science in 2011, Bain worked as a quality assurance manager at a small
    pharmaceutical manufacturer and had a very brief stint at the FDA, where she never worked on or
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   analyzed 483 letters. To the point, the Court finds Bain qualified, but just barely, to opine on how ZHP’s
   conduct relates to certain cGMPs in terms of sufficient quality assurance.
             Bain’s opinions on pages 68 to 75 of her report are PRECLUDED. Here, Bain opines that the
    contaminated VCDs were “adulterated”, a legal interpretation of the CFR definition, which is only for
    the fact-finder to reach. In reviewing the Quality Assurance Agreement between ZHP and its U.S.
    subsidiaries—Prinston, Solco, Huahai U.S.—Bain asserts these subsidiaries did not follow that
    agreement and hence violated certain cGMPs. This is a legal opinion she is unqualified to make. Bain
    cites testimony from David Chesney, a defendants’ class certification expert, to assert ZHP’s executive
    management teams are largely liable for ZHP’s cGMP failures. The Court finds this opinion on ZHP’s
    compliance failure derivative, taken from the liability report of plaintiffs’ expert Hecht and defendants’
    expert Chesney.
             Indeed, the Court finds other of Bain’s opinions in pages 68 to 75 to be secondarily acquired and
    backed by little reliable methodology. She has not shown in her report an independent expertise to
    comment on ZHP’s conduct in complying with certain regulations, i.e., cGMPs. Largely based on
    statements from other experts, Bain’s opinions crystallize to this: since the introduction of
    nitrosamines into valsartan API was improper, ZHP’s quality assurance and risk assessment must have
    been flawed, and therefore ZHP bears liability. Hers is the most basic flaw in logic: working backwards
    from a result. Bain’s specific opinions on pages 68 t0 75 of her liability report (and anywhere else they
    appear in that report) are PRECLUDED.
             The opinions in the rest and remainder of Bain’s liability report are NOT PRECLUDED as it is
    largely background and may be of use to a fact-finder.


    Laura Craft MPH, JD
             Defendants’ motion Doc. No. 2287 is GRANTED IN PART and DENIED IN PART. Plaintiffs
    asked Craft to analyze and explain the flow of payments for insurance reimbursement of generic drugs
    and the electronic record created in that flow. Her methodology includes a review of the following:
    certain materials produced by the parties, which her previous expert reports in this MDL detail; various
    contracts dated to between 2011 and 2019 that Emblem Health and SummaCare 2 (assignors for the
   TPP class representative MSP) had with those Pharmacy Benefit Managers [“PBMs”] which provided
    services to these assignors; and recall announcements for the VCD products of the defendants in the
    scheduled, upcoming bellwether trial, viz., ZHP, Teva, and Torrent.
             Craft’s liability report rehashes earlier opinions in her class certification report, which advocated
    for the ascertainability of the Economic Loss classes. Here, Craft opines that the legal and

   2 These assignors were Medicare Part D plan sponsors.
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   technological framework of the U.S. drug supply chain enables the discovery of specific information
    about drug purchases, not only about consumers but also about their insureds’ pay-outs. This relates
   to liability in an indirect way.
            Defendants attack Craft’s report as only indirectly fit to the liability task at hand . They also
    contend that Craft’s deposition opinion— that contaminated VCDs had no value— while unexpressed in
    her report, grounds it. The Court interprets that defendants’ opposition is meant to foil this a priori,
    unstated premise. However, the Court does not preclude Craft’s report because of an opinion
    expressed in her deposition testimony. To do so risks an improper reach-through from her deposition
    because of arguments expressed below (See infra for Philip Russ’s report) and because Craft’s report on
    its face has acceptable qualifications, relevance, and reliable methodology.
            Regarding most of Craft report is background and tangentially relevant to liability, the Court
    does NOT PRECLUDE most of the opinions in Craft’s report. For an expert report that is largely
    background, a court properly restricts the expert from testifying to opinions unstated in the report
    unless the opposing party expressly examines them at trial.
            Therefore, Craft is PRECLUDED FROM testifying to a fact finder any other opinions not
    expressly stated in her liability report but may testify to them if cross-examined on them or if she
    updates her report to include them.


    Steven Hecht, PhD
            Defendants’ motion Doc. No. 2292 sought to preclude the separate reports of two of plaintiffs’
    experts, Steven Hecht and Ramin Najafi, because both opined on similar subject matter: nitrosamine
    chemistry and ZHP’s liability for the nitrosamine contamination of its API. The Court discusses
    separately its decision on the admissibility of each expert’s report and opinions.
            Defendants’ motion Doc. No. 2292 to preclude the report of plaintiffs’ expert Steven Hecht is
    DENIED. Plaintiffs asked Hecht to discuss, from an organic chemistry perspective, the root cause of
    the nitrosamine contamination in ZHP VCDs and to opine on the relative facility of avoiding such
    contamination. Because of his years-long experience working in nitrosamine chemistry, Hecht is
    qualified to opine on nitrosamine formation / detection. The subject matter of his report is squarely
    relevant to liability. Hecht’s methodology was to review both ZHP documents and FDA documents
    related to the contamination. Hecht’s opinions includes:
    -the contamination of the solvent dimethyl formamide with dimethylamine or the formation of
    dimethylamine because of the quenching of azide with nitrous acid, formed from nitrite under acidic
    conditions, was foreseeable, which ZHP should have evaluated;
    -the addition of the nitrite to quench the azide was the critical step to the contamination;
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   - ZHP disregarded the potential for nitrosamine formation when undertaking this step; and
   - ZHP should have been looking for nitrosamine formation based on the change in its quenching steps;
   and
   -ZHP should have expected the production of NDMA in its Zinc Chloride process because it has long
   been known that dimethyl formamide can degrade into diemethylamine, which can then form NDMA.
            Defendants assert Hecht’s methodology is not reliable. He cited no scientific literature that
    informs that a reaction between the TEA and sodium nitrite during quenching is likely to create
    nitrosated amines, such as NDMA. Further, Hecht cited only one Australian textbook that even
    discussed nitrosamine formation but under different formation conditions (closer to the boiling point)
    than ZHP used. Therefore, defendants argue ZHP had no reasonable expectation that the TEA process
    with quenching would result in nitrosamine contamination.
            Plaintiffs counter that Hecht reviewed ZHP’s own deviation investigation reports in which
    ZHP’s testing showed that both NDMA and NDEA could form under its process conditions of quenching
    TEA with sodium nitrite. Hecht also reviewed FDA documents, such as a 2018 Warning Letter,
    informing ZHP that it had not considered the potential for mutagenic impurity formation when
    changing the solvent to dimethyl formamide. Therefore, Hecht’s opinions can only be considered
    reliable as they are grounded not only in his experience of nitrosamine formation but also by his reading
    (not his interpretation) of ZHP’s own testing reports and FDA communications.
            In essence, the defendants’ and the plaintiffs’ arguments go to the weight of Hecht’s liability
    conclusions and no doubt may preview a cross-examination of Hecht. Specifically, defendants’
    arguments regarding the reliability of Hecht’s method—the paucity or sufficiency of the scientific
    literature about nitrosamine formation— do not negate the reliability of his literature review or the
    admissibility of his opinions based on that review, but goes to the weight of Hecht’s opinions.


    Ramin Najafi, PhD
            Defendants’ motion Doc. No. 2292 as regards the report of plaintiffs’ expert Ramin Najafi is
    GRANTED IN PART and DENIED IN PART.
            Najafi’s report mirrors Hecht’s in that it discusses ZHP’s liability for not considering more
    carefully and with foresight the chemical implications of changing their solvent extraction processes.
    His report is fit for the purpose. The Court finds Najafi qualified to opine because of his 35-year long
    organic chemistry experience as well as his 12-plus years of experience in helping drug companies
    develop new products by following stringently the regulatory guidance from the FDA, ICH, USP, etc.
    Najafi’s opinions are based on his chemistry experience, his regulatory compliance, and his review of
    FDA and ZHP documentation.
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            Because of the similarity in fit and reliable methodology between Najafi’s and Hecht’s reports,
    the Court finds most opinions in Najafi’s report not precluded. Specifically, Najafi is NOT PRECLUDED
    from using the term “adulterated” so long as he closely limits that use to the language set forth in the
    Food, Drug, and Cosmetic Act, 21 U.S. 351(a)(2)(B).
            Ultimately, plaintiffs put forth three reports from liability experts opining on ZHP’s conduct
    relating to nitrosamine chemistry and ZHP’s duty of care to analyze the chemical implications of the
    changes to its solvent extraction process. In general, the Court notes these distinctions among the
    three reports: Hecht opines on whether ZHP’s chemical expertise sufficed to recognize that the
    changes in their chemical processes could result in nitrosamine formation. Russ opines on whether Ds
    should have considered the ramifications of making those changes. And, Najafi’s report directly
    contradicts defendants’ organic chemistry expert, Xue.
            More specifically, Najafi’s task is to explain the chemistry of nitrosamine formation and why
    nitrosamines are carcinogenic in nature because of their chemical structures. As it may be quite easy
    to drift into biological explanations why nitrosamines may cause cancer, the Court issues a general
    restriction that Najafi’s opinions that waft into biological explanations of such effects are PRECLUDED.
    In particular, Najafi’s opinions that contaminated VCDs provided zero benefit to consumers or their
    TPPs are PRECLUDED. Najafi is no economic or medical expert qualified to opine on the benefit of
    contaminated VCDs to patients.
            Nonetheless, his chemical explanations of nitrosamine effects are NOT PRECLUDED. Also,
    NOT PRECLUDED is Najafi’s opinion regarding the quality of ZHP’s risk assessment analysis. He
    opined that, had ZHP done the research and conducted a thorough risk analysis when changing the
    solvent extraction process, ZHP would have been able to at least guess about possible nitrosamine
    formation based on known, general properties of the chemicals involved and their reactivity.
            As with Hecht’s report, defendants opposed Najafi’s because he cites little contemporaneous
    literature that would have prompted ZHP to ask about possible nitrosamine formation in its changed
    solvent extraction process. Inasmuch as Hecht’s and Najafi’s methodologies are similar and reliably
    based on ZHP’s own documentation and the FDA’s published insight, both reports reliably raise
    questions about ZHP’s diligence in exploring the possible chemical effects in its changed processes. As
    with Hecht’s report, the Court finds defendants’ opposition relates not to the admissibility of Najafi’s
    opinions but to their weight.


    Kaliope Panagos, PharmD, R.Ph.
            Defendants’ motion Doc. No. 2291 is GRANTED IN PART AND DENIED IN PART. Plaintiffs
    asked Panagos to opine on the type of information that TPPs rely on and consider when selecting
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   generic drugs for inclusion in their formularies. Such opinion relates indirectly to whether TPPs have
   incurred economic loss for their full or partial payments of VCDs. Panagos’ liability report is similar to
   her class certification one. And as previously, the Court precludes many of her opinions for the same
    reasons expressed in the class certification opinion.
            In general, Panagos’ interpretation that an FDA approval of an ANDA drug translates into an
    “assurance” to TPPs of that drug’s therapeutic- and bio- equivalence to the RLD is PRECLUDED.
    Specifically, the information and opinions expressed in the following paragraphs of her report are
    PRECLUDED from reaching the fact-finder: ¶¶ 80, 82 - 84, 87 - 88, 90, 92 – 92, 97 – 98, and 102 – 105.
    Also PRECLUDED are the opinions in Panagos’ Summary sections IX – X, XII, and XIV.
            Although the rest and remainder of the opinions in Panagos’ report are NOT PRECLUDED,
    Panagos is PRECLUDED in any testimony to a fact-finder from using the terms “therapeutic
    equivalence” and “bio-equivalence” or equating these terms to each other. Such conclusions are not
    helpful to the fact-finder.


    Laura Plunkett, PhD
            Defendants’ motion Doc. No. 2285 is GRANTED IN PART AND DENIED IN PART. Plaintiffs
    asked Plunkett to opine, from a toxicology perspective, on the human health risks from ingesting
    contaminated VCDs over an extended duration. Her particular expertise as a toxicologist and
    pharmacologist in academia and in research for over 30 years as well as her work as a regulatory
    consultant conducting risk/benefit analyses of human drugs qualifies her in this task. She is especially
    familiar with valsartan and cancer risk assessment of genotoxic compounds. Plunkett’s methodology
    was to analyze defendants’ documents in light of human health risk assessment principles used by drug
    regulators in assessing drug safety. She also applied to the reviewed documents a weight of the
    evidence method gleaned from a body of research and literature and referred to a tome that explains
    how experts use this method.
            Plunkett opines that defendants’ VCDs—both API and finished dose products—are adulterated
    because of the inclusion of nitrosamines. Plunkett’s opinion on whether valsartan API contaminated
    with nitrosamine constitutes an “adulterated” drug is allowed because she is qualified to opine on the
    purity or impurity of a drug from a toxicology point of view. Simply, her ability to opine on the
    meaning of adulteration arises from her expertise. For that reason, her opinions in ¶62 of her report is
    NOT PRECLUDED.
            However, in subtle ways, some of Plunkett’s statements and opinions cross the line into legal
    guidance for those areas where her opinions do not arise from her toxicology expertise. Because of this
    subtlety, the Court has reviewed Plunkett’s report closely to identify precluded and non-precluded
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   paragraphs. Besides ¶62, the following paragraphs in Plunkett’s report are NOT PRECLUDED, but
    testimony to a fact finder may be restricted according to the Court’s instructions below:
    ¶¶ 15-20 as background;
    ¶21 only to allow her to quote the FDA definition of “pharmaceutical equivalence”;
   ¶22 only to allow her to quote 21 U.S.C. 355 as to the definition of the term “bioequivalence”;
   ¶¶23 – 25 as background;
    ¶26 only to the extent that her cited section of USP was the one in play BEFORE THE FDA RECALL OF
   VCDs in July 2018;
   ¶¶27 – 28 only to the extent that Plunket must QUOTE the FDA’s own language in the EIR sent to ZHP
   as to why ZHP’s risk assessments were inadequate;
   ¶29, 51, 54;
    ¶30 only to the extent Plunkett QUOTES ZHP’s Dr. Min Li testimony;
   ¶32 only to the extent Plunkett QUOTES from the FDA warning letter to ZHP of 29 Nov 2018 in which
   the FDA disagrees with ZHP that its risk assessment was adequate because it was in line with “current
   industry practice”;
   ¶36 only as to her reading 21 CFR 314.98;
   ¶37 - 43 as background;
   ¶55 only if Plunkett quotes from letters sent by Torrent and Teva to ZHP to inform ZHP of their recalls;
   ¶56 as background only to the extent that the GAO document she cites from was AFTER THE FDA
   RECALL OF VCDs in July 2018;
   ¶57 as background.
            The following opinions in Plunkett’s report are PRECLUDED:
   ¶21 she may not testify to her interpretation that “therapeutic equivalence” equates to
   “pharmaceutical equivalence”, which is not helpful to the fact-finder;
   ¶26 IF her citation to the USP was to a version issued AFTER THE FDA RECALL OF VCDs in July 2018;
   ¶27 she may not offer hers or any other opinion as to the inadequacy of ZHP risk assessments on the
   changes in ZHP’s solvent extraction process. She may only quote the FDA’s statements.
   ¶31 and ¶34 she may not cite to a treatise or reference on risk assessments, which is dated AFTER THE
   FDA RECALL OF VCDs in July 2018;
   ¶32 as irrelevant regarding proposed changes to the USP that would may or have gone into effect
   AFTER THE FDA RECALL OF VCDs in July 2018;
   ¶33 as irrelevant or unfit for the purpose of the report;
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   ¶35 because she may not offer a legal assumption she is unqualified as a toxicologist to make;
    ¶36 her opinions whether the FDA will find a label misleading requires legal expertise for which she is
    unqualified;
    ¶44- 50 her opinions repeat opinions of other plaintiffs experts’, are derivative, and should be presented
    directly by the relevant experts to the fact finder;
    ¶52 as pure ipse dixit, lacking reliable methodology for not stating with reliable specificity what are
    “necessary” risk assessments ZHP should have taken;
    ¶53 as a legal opinion unsupported by citation;
    ¶55 she cannot testify to her interpretation about communications between ZHP and Torrent and Teva,
    but only may quote from those communications;
   ¶58 as outside Plunkett’s expertise and experience;
   ¶¶59 - 63 Plunkett’s interpretation of the FDA’s 2018 Warning Letter to ZHP is a legal opinion that is
    not helpful to the fact-finder.


    Philip Russ, BS
            Defendants’ motion Doc. No. 2296 is DENIED. Plaintiffs asked Russ to opine on the quality of
    Teva’s and Torrent’s compliance with cGMPs in making their finished dose products. Plaintiffs also
    asked him to explain how Teva’s and Torrent’s corporate compliance behavior contributed to their
    failure to discover nitrosamines in the valsartan API they bought. Russ’s specific qualifications are his
    work as consultant to pharmaceutical management for nearly 30 years in cGMP compliance. His
    methodology was to review Teva’s and Torrent’s documents in light of those industry standards which
    he would have used in his everyday consulting practice as well as FDA regulations and cGMP guidances.
    More specifically, Russ was looking at the adequacy of these firms’ corporate structure, and in
    particular, their quality and management corporate practices, in order to gauge the sufficiency of the
    monitoring and oversight methods.
            Russ’s general opinion is that both Teva’s and Torrent’s quality and management systems
    prompted firm-wide, inadequate monitoring and oversight of their API suppliers. Such overarching
    failure resulted in conduct at several corporate levels that deviated from quality cGMPs and from
    industry standards.
            Defendants oppose Russ’s opinion because of his ab initio premise: since the finished dose
    manufacturers did not perform their own testing of ZHP’s API, then ipso facto Teva and Torrent failed
    their quality and monitoring duty of care. Further, defendants oppose Russ’s interpretations of the
    motive, intent and state of mind of the finished dose manufacturers in choosing to use ZHP’s valsartan
    API.
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                  The Court has not precluded Russ’s report because he has applied a reliable methodology. His
    opinions on the inadequacy of Teva’s and Torrent’s quality and monitoring standards and their motives
    for not independently testing ZHP’s API come directly from his review of defendants’ own documents.
    Such review is a reliable methodology because Russ’s opinions stem from defendants statements and
    conduct. Even if Russ approached the task with an a priori presumption, Russ’ years-long experience as
    a consultant to pharmaceutical management, gives him the requisite expertise to glean from Teva’s
   and Torrent’s documents the reasons why Teva and Torrent created their quality / monitoring programs
   and corporate structure. Russ’s methodology—his review of the reality of Teva’s and Torrent’s own
    statements and conduct—has the potential to alter any a prior presumption, which is why Russ’s
    opinions are not precluded. 3
                  Defendants’ arguments go to the correctness of Russ’s opinions, not to his qualifications to
   opine or the fitness and reliability of his opinions. Courts do not engage in weighing the correctness of
   an expert’s opinion, rather the reliability of them. 4
                  Defendants also seek to preclude Russ’s deposition opinions that were not properly disclosed in
    his expert report. However, the Court does not preclude those opinions because there exist several
    checks to presenting such new, unqualified testimony in the Federal Rules. First, although Federal Rule
    of Evidence 705 5 would not limit Russ’s “new” deposition testimony from being presented at trial to a
   fact-finder, the defendants can require Russ to reveal the bases of his “new” opinions in cross-
    examination and therefore expose them as unreliable, irrelevant, or unqualified. 6 Further, to the
   extent that Russ’s new deposition testimony is to be presented to the fact-finder, Fed. R. Civ. Proc.


   3 See Aetna Inc. v. Express Scripts, Inc., 261 F.R.D. 72 (E.D. Pa 2009).

                “Even assuming that [the expert’s] analysis was flawed, in part, due to his misapplication of free or discounted pricing, ‘flaws’ in an
   expert's investigative process do not render the opinion excludable. An expert's opinion is suspect when it is based on a ‘subjective belief’ or
   ‘unsupported speculation’ but remains admissible so long as the process used by the expert is reliable. [In re] Paoli [R.R. Yard PCB Litigation], 35
   F.3d [717] at 744–45 [3d Cir. 1994].”
               Id. at 81.

   4 See, In re Johnson & Johnson Talcum Powder Products Marketing, Sales Practices and Products Litigation, 509 F.Supp.3d 116 (D.N.J. 2020).

                  Careless and shoddy recordkeeping of tests of various cell lines by the expert ”do not indicate, however, that the actual
                  data collected from the cell lines were unreliable or somehow altered in bad faith. As such, these issues go to the weight
                  of [the expert’s] opinion and the credibility of his testimony. Crowley v. Chait, 322 F. Supp. 2d 530, 540 (D.N.J. 2004)
                  (‘Daubert does not require that an expert's testimony be excluded simply because he admitted ... his own mistakes or
                  retracted his false statements.’); see also Oddi, 234 F.3d [136] at 145-46 [3d Cir. 2000] (the test of admissibility is not
                  whether a particular scientific opinion has the best foundation or whether it is demonstrably correct)”.
    Id. at 146.


   5
    FRE 705. Disclosing the Facts or Data Underlying an Expert
             Unless the court orders otherwise, an expert may state an opinion — and give the reasons for it — without first testifying to the
   underlying facts or data. But the expert may be required to disclose those facts or data on cross-examination.

   6
    See, e.g., Carnegie Mellon University v. Marvell Technology Group, LTD. et al., Civil Action No. 09-290, 2012 WL 12894850 (W.D .Pa. 18 Dec
   2012) [exemplifying the opposing party’s right at trial to object to the discrepancies among the expert witnesses’ report, deposition testimony,
   and trial testimony].
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   26(e)(2) 7 requires that Russ’s report be supplemented with his new deposition testimony. If his report is
   not so supplemented, then defendants may object at trial.


   6.0        CONCLUSION
              The Court’s decisions regarding the motions to preclude expert liability reports listed in Table 1
    and 2 supra are set forth in an accompanying Order of this date.


    Dated: 5 January 2024                                                      /s Robert B. Kugler
                                                                               The Honorable Robert B. Kugler
                                                                               United States District Judge




   7 Fed. R. Civ P. 26 (e)(2) Supplementing Disclosures and Responses.

              ...
   (2) Expert Witness. For an expert whose report must be disclosed under Rule 26(a)(2)(B), the party's duty to supplement extends both to
   information included in the report and to information given during the expert's deposition. Any additions or changes to this information must
   be disclosed by the time the party's pretrial disclosures under Rule 26(a)(3) are due.
